Case 22-52950-pmb        Doc 83      Filed 06/22/22 Entered 06/22/22 11:00:11         Desc Main
                                     Document     Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                              |     CASE NO. 22-52950-PMB
                                    |
ATLANTA LIGHT BULBS, INC.           |     CHAPTER 11
                                    |
            Debtor.                 |     JUDGE BAISIER
_____________________________________________________________________________

                                CERTIFICATE OF SERVICE

       This is to certify that on June 22, 2022, I, S. Gregory Hays, caused to be served copies of
the Order Approving Application of Professionals, Subject to Objection (Hourly Fee) [Docket
No. 81] by first class United States Mail, postage prepaid, on all of those entities set forth on
Exhibit “A” at the address stated.

       This 22nd day of June, 2022.


                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
Case 22-52950-pmb   Doc 83   Filed 06/22/22 Entered 06/22/22 11:00:11   Desc Main
                             Document     Page 2 of 4




                                  Exhibit “A”
               Case 22-52950-pmb               Doc 83   Filed 06/22/22            Entered 06/22/22 11:00:11      Desc Main
Label Matrix for local noticing                    American Express Travel Page
                                                        Document           Related 3Services
                                                                                      of 4 Co.     Atlanta Light Bulbs, Inc.
113E-1                                             c/o Zwicker and Associates, P.C.                2109 Mountain Industrial Blvd
Case 22-52950-pmb                                  Attorneys/Agents for Creditor                   Tucker, GA 30084-5013
Northern District of Georgia                       P.O. Box 9043
Atlanta                                            Andover, MA 01810-0943
Wed Jun 22 10:14:10 EDT 2022
Bryan Kaplan                                       CBC Lighting Inc.                               Candela Corporation
6065 Roswell Road, Suite 540                       Kaplan Legal Services, LLC                      5600 Argosy Ave, Suite 300
Atlanta, GA 30328                                  6065 Roswell Road, Suite 540                    Huntington Beach, CA 92649-1011
atlanta 30328-4038                                 Atlanta, GA 30328
                                                   atlanta, GA 30328-4038

Thomas Dworschak                                   Energetic Lighting, Inc., a division of Yank    Fanlight Corporation, Inc.
Office of the U. S. Trustee                        540 North Golden Circle Drive                   c/o Simpson, Uchitel & Wilson, LLP
Room 362                                           Suite 203                                       P.O. Box 550105
75 Ted Turner Drive, SW                            Santa Ana, CA 92705-3914                        Atlanta, GA 30355-2605
Atlanta, GA 30303-3330

(p)FORD MOTOR CREDIT COMPANY                       Kathleen G. Furr                                Halco Lighting Technologies, LLC
P O BOX 62180                                      Baker Donelson                                  2940 Pacific Drive
COLORADO SPRINGS CO 80962-2180                     3414 Peachtree Road, NE                         Norcross, GA 30071-1808
                                                   Suite 1500, Monarch Plaza
                                                   Atlanta, GA 30326-1153

Hatch Transformers, Inc., d/b/a Hatch Lighti       S. Gregory Hays                                 Hays Financial Consulting LLC
c/o Simpson, Uchitel & Wilson, LLP                 Hays Financial Consulting, LLC                  2964 Peachtree Road NW, Suite 555
P.O BOX 550105                                     Suite 555                                       Atlanta, GA 30305-4909
Atlanta, GA 30355-2605                             2964 Peachtree Road
                                                   Atlanta, GA 30305-4909

Internal Revenue Service                           Brian J. Jackiw                                 Ronald A. Levine
P. O. Box 7346                                     233 South Wacker                                Levine & Block, LLC
Philadelphia, PA 19101-7346                        Suite 6950                                      P.O. Box 422148
                                                   Chicago, IL 60606-6395                          Atlanta, GA 30342-9148


Scott B. McMahan                                   Norcross Electric Supply Company                Leslie M. Pineyro
Poole Huffman, LLC                                 4190 Capital View Drive                         Jones and Walden, LLC
Building J, Suite 200                              Suwanee, GA 30024-3979                          699 Piedmont Avenue NE
3562 Habersham at Northlake                                                                        Atlanta, GA 30308-1400
Tucker, GA 30084-4010

Todd J Poole                                       Michael D. Robl                                 Secretary of the Treasury
3562 Habersham at Northlake                        Robl Law Group LLC                              15th & Pennsylvania Avenue, NW
Building J, Ste 200                                Suite 250                                       Washington, DC 20200
Tucker, GA 30084-4010                              3754 LaVista Road
                                                   Tucker, GA 30084-5623

Henry F. Sewell Jr.                                Todd H. Surden                                  Jason M Torf
Law Offices of Henry F. Sewell, Jr., LLC           Hartman Simons & Wood                           Tucker Ellis LLP
Suite 555                                          400 Interstate North Parkway SE                 Suite 6950
2964 Peachtree Road, NW                            Suite 600                                       233 S. Wacker Dr.
Atlanta, GA 30305-4909                             Atlanta, GA 30339-5001                          Chicago, IL 60606-9997

Jason M. Torf                                      U. S. Securities and Exchange Commission        United States Trustee
Ice Miller LLP                                     Office of Reorganization                        362 Richard Russell Federal Building
200 W. Madison Street                              Suite 900                                       75 Ted Turner Drive, SW
Suite 3500                                         950 East Paces Ferry Road, NE                   Atlanta, GA 30303-3315
Chicago, IL 60606-3417                             Atlanta, GA 30326-1382
               Case 22-52950-pmb               Doc 83     Filed 06/22/22         Entered 06/22/22 11:00:11                Desc Main
Worldwide Specialty Lamp, LLC                        Kristen A. Yadlosky
                                                          Document           Page 4 of 4
c/o Bryan Kaplan, Esq.                               Hartman Simons & Wood
6065 Roswell Road, Suite 540                         400 Interstate North Parkway SE
Atlanta, GA 30328                                    Suite 600
Atlanta, GA 30328-4038                               Atlanta, GA 30339-5001



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Motor Credit Company, LLC
Drawer 55-953
P.O. Box 55000
Detroit, MI 48255-0953




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ford Motor Credit Company, LLC A Delaware         (u)Major Supply, Inc.                                (u)Jesse Root




(u)Sun Court Partners, LP                            (u)Tandem Bank                                       (u)The Official Committee of Unsecured Credit




End of Label Matrix
Mailable recipients    31
Bypassed recipients     6
Total                  37
